                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE

RONALD A. BRANDON,                   )
                                     )
           Plaintiff,                )
                                     )
v.                                   )                   No.:    3:09-CV-152
                                     )                           (VARLAN/GUYTON)
FINANCIAL ACCOUNTS SERVICES          )
TEAM, INC., FINANCIAL ACCOUNTS       )
SERVICES TEAM, and PHILIP S. KNIGHT, )
                                     )
           Defendants.               )


                      MEMORANDUM OPINION AND ORDER

       This civil action is before the Court on Defendant’s Motion to Dismiss for Lack of

Subject Matter Jurisdiction [Doc. 5], filed by defendant Financial Accounts Services Team,

Inc. (“defendant FAST”). In the motion, defendant FAST requests that the Court dismiss

plaintiff Ronald A. Brandon’s (“plaintiff’s”) federal claim under the Fair Debt Collections

Practices Act, 15 U.S.C. §§ 1692, et seq. (the “FDCPA”), for lack of subject matter

jurisdiction pursuant to Rule 12(b)(1) and Rule 12(h)(3) of the Federal Rules of Civil

Procedure. Plaintiff has responded in opposition [Doc. 6]. Defendant FAST has not filed

a reply, and the time for doing so has passed. See E.D. TN L.R. 7.1(a), 7.2.

       The Court has carefully considered the pending motion, plaintiff’s response, and the

parties’ supporting documents [Docs. 5, 5-1, 5-2, 5-3, 6, 6-1, 6-2]. For the reasons set forth

herein, the Court will deny defendant FAST’s motion to dismiss for lack of subject matter

jurisdiction.



Case 3:09-cv-00152-TAV-HBG         Document 8 Filed 03/24/10          Page 1 of 13     PageID
                                         #: 81
I.     Background

       This action arises out of an alleged debt incurred by plaintiff that allegedly went into

default in October 1998 [Doc. 2, ¶ 8].1 Around 2002, the debt was acquired by Maui

Collective Service (“Maui”) [Id.]. In October 2002, defendant FAST acquired the debt from

Maui [Doc. 5-2, ¶¶ 1, 3]. Defendant FAST sent an initial collection letter to plaintiff on or

about November 20, 2002, and a second collection letter on December 10, 2002 [Doc. 5-2,

¶ 4; Doc. 2, ¶ 10]. Defendant FAST asserts that it sent a series of collection letters to plaintiff

until the account was marked for credit bureau removal in March 2004 [Doc. 5-2, ¶ 4]. After

March 2004, defendant FAST asserts that it sent eleven more collection letters to plaintiff

[Id., ¶ 5]. On July 23, 2007, having had no contact with plaintiff, either by telephone or

otherwise, defendant FAST asserts that it cancelled the account for exhausted efforts and

ceased all collection activity [Id.]. Plaintiff asserts that the time period for reporting the debt

acquired by defendant FAST as delinquent expired no later than December 31, 2006. See

15 U.S.C. § 1681c(c)(1).2

       Around January 2008, plaintiff asserts that he obtained a copy of his credit report from

Equifax [Doc. 2, ¶ 12]. Plaintiff asserts that the credit report showed that defendant FAST

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        The underlying debt is alleged to have arisen out of a repair bill for a transmission
replacement for plaintiff’s personal vehicle [Doc. 2, ¶ 8]. See 15 U.S.C. § 1692a(5) (defining
“debt” for purposes of the FDCPA).
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         Section 1681c(c)(1) of the FDCPA describes the running of a reporting period to be a “7-
year period” which begins “upon the expiration of the 180-day period beginning on the date of
commencement of the delinquency which immediately preceded the collection activity.” 15 U.S.C.
§ 1681c(c)(1). Plaintiff’s debt is alleged to have entered into delinquency in October 1998 [Doc.
2, ¶ 8].

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Case 3:09-cv-00152-TAV-HBG           Document 8 Filed 03/24/10           Page 2 of 13      PageID
                                           #: 82
was reporting to Equifax that the date of first delinquency on the debt was September 2002

[Id.]. Plaintiff disputes this date, asserting that the proper date of first delinquency is

November 2002 [Id.]. On February 1, 2008, plaintiff asserts that he sent a certified letter to

Equifax and defendant FAST, notifying them of the disputed date and requesting that the

incorrect date be removed from his credit report [Id., ¶¶ 13, 14]. On or about February 19,

2008, plaintiff asserts that he received written notification from Equifax that defendant FAST

had verified as correct the November 2002 date of first delinquency [Id., ¶ 15]. Plaintiff

asserts that he never received any response from defendant FAST regarding his February 1,

2008 letter [Id., ¶ 16].

       On April 28, 2008, plaintiff asserts that he obtained a copy of his Experian credit

report, dated April 28, 2008, which showed that defendant FAST was continuing to

communicate the incorrect date of delinquency [Doc. 6, p. 3]. On April 29, 2008 plaintiff

asserts that he sent a second letter to defendant FAST regarding the disputed delinquency

date and requesting a correction [Doc. 2, ¶ 17]. Plaintiff asserts that he never received a

response from defendant FAST regarding his April 29, 2008 letter [Id., ¶ 19].

       On or about May 15, 2008, plaintiff asserts that he again obtained a copy of his

Equifax credit report, again showing the allegedly incorrect date of delinquency [Doc. 2, ¶

20; Doc. 6-1]. Plaintiff asserts that he obtained two more credit reports from Equifax on or

about November 13, 2008, and December 28, 2008, and that both credit reports showed that

defendant FAST was still reporting the incorrect date of delinquency to Equifax [see Doc.

2, ¶¶ 20-32].

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Case 3:09-cv-00152-TAV-HBG         Document 8 Filed 03/24/10          Page 3 of 13     PageID
                                         #: 83
       Plaintiff filed his complaint against defendant FAST on April 10, 2009, alleging that

defendant FAST continued to report a debt beyond the time allowed after the first

delinquency, incorrectly reported the date of delinquency or date the account was opened,

and failed to report that the debt was disputed [Doc. 2, ¶¶ 31-33]. Plaintiff asserts that

defendant FAST’s actions constitute false, misleading, and unfair communications, acts,

omissions, and/or practices in an illegal attempt to collect a debt and in violation of

“numerous provisions of the FDCPA,” including, 15 U.S.C. §§ 1692e, 1692e(2)(A),

1692e(8), 1692e(10), and 1692(f) [see id.].

       In the instant motion, defendant FAST asserts that plaintiff’s claims under the FDCPA

are time-barred by the FDCPA statute of limitations, see 15 U.S.C. § 1692k(d), because the

alleged “violation,” the incorrect reporting of the delinquency date, occurred in January

2008, more than one year before plaintiff filed his complaint. Further, defendant FAST

asserts that plaintiff’s other allegations involve the reporting of the same information and are

time-barred as “continuing” or “serial” violations not recognized under the FDCPA.

Accordingly, because all plaintiff’s claims are barred by the FDCPA’s statute of limitations,

defendant FAST asserts that all plaintiff’s claims should be dismissed with prejudice.

II.    Analysis

       A.     Standard of Review – Federal Rule of Civil Procedure 12(b)(1)

       Defendant FAST asserts that plaintiff’s complaint should be dismissed for lack of

jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1). See Fed. R. Civ. P.

12(b)(1). Under Rule 12(b)(1), a motion to dismiss “may either attack the claim of

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Case 3:09-cv-00152-TAV-HBG          Document 8 Filed 03/24/10          Page 4 of 13      PageID
                                          #: 84
jurisdiction on its face or it can attack the factual basis of jurisdiction.” Golden v. Gorno

Bros., Inc., 410 F.3d 879, 881 (6th Cir. 2005). Defendant FAST has brought a factual attack

on plaintiff’s complaint. A party making a “factual attack” on subject matter jurisdiction

challenges the actual existence of the court’s jurisdiction—a defect that may exist even

though the complaint contains the formal allegations necessary to invoke jurisdiction. RMI

Titanium Co. v. Westinghouse Elec. Corp. (“RMI”), 78 F.3d 1125, 1134 (6th Cir. 1996). In

this type of challenge, the court must weigh the evidence and the plaintiff has the burden of

proving that the court has jurisdiction over the subject matter. Golden, 410 F.3d at 881; see

also DLX, Inc. v. Kentucky, 381 F.3d 511, 516 (6th Cir. 2004).

       B.     Plaintiff’s FDCPA Claims

       The purposes of the FDCPA are to eliminate abusive debt collection practices by debt

collectors, to insure that debt collectors refrain from using abusive debt collection practices,

and to promote consistent state action to protect consumers against debt collection abuses.

See 15 U.S.C. § 1692(e). The FDCPA also prohibits debt collectors from making false or

misleading representations in connection with the collection of a debt. Id. Plaintiff has

alleged that defendant FAST violated, among others, the following provisions of the FDCPA:

              (2)     The false representation of--
                             (A) the character, amount, or legal status of any debt;
                                    or
                             (B) any services rendered or compensation which may
                                    be lawfully received by any debt collector for the
                                    collection of a debt.
              ....



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Case 3:09-cv-00152-TAV-HBG          Document 8 Filed 03/24/10          Page 5 of 13      PageID
                                          #: 85
              (8)    Communicating or threatening to communicate to any person
                     credit information which is known or which should be known to
                     be false, including the failure to communicate that a disputed
                     debt is disputed.

15 U.S.C. § 1692e. Plaintiff has also alleged that defendant FAST used “unfair or

unconscionable means to collect or attempt to collect [a] debt.” 15 U.S.C. § 1692(f). The

FDCPA provides that actions to enforce the above provisions must be brought “within one

year from the date on which the violation occurs.” 15 U.S.C. § 1692k(d).

       Plaintiff filed his complaint on April 10, 2009 [see Doc. 1]. Plaintiff argues that he

first became aware of the incorrect delinquency date in his credit report in January 2008, but

was not aware of each individual violation—the subsequent incorrect communication by

defendant FAST to Equifax—until he actually obtained the individual credit reports and

became aware of each new violation. Thus, plaintiff asserts, each new and incorrect credit

report constitutes a communication in violation of the FDCPA and such violations are not

barred by the statute of limitations because they fall within the one-year limitation period.

Defendant FAST, on the other hand, argues that plaintiff’s allegations for violations of the

FDCPA accrued in January 2008, when plaintiff discovered the dispute and first alleged a

violation. Thus, defendant FAST asserts, any further collection activity by defendant FAST

involved reporting the same information as in the first violation and therefore the later

reporting was merely a continuation of the first violation, which occurred more than one year

before plaintiff filed his complaint.




                                              6


Case 3:09-cv-00152-TAV-HBG         Document 8 Filed 03/24/10          Page 6 of 13     PageID
                                         #: 86
         C.     The Accruing of Claims Under the FDCPA

         Case law reveals a tension between the courts that have addressed the issue of when

a FDCPA claim accrues. Defendant FAST cites to the cases of Wilhelm v. Credico, Inc., 455

F. Supp. 2d 1006 (D.N.D. 2006), aff’d in part on other grounds, 519 F.3d 416, 418 (8th Cir.

2008) and Fraenkel v. Messerli & Kramer, P.A., No. Civ. 04-1072JRTFLN, 2004 WL

1765309 (D.Minn. July 29, 2004), among others, in support of its position that plaintiff’s

claims of violations occurring within the one-year limitation period are barred as

“continuing” or “serial” violations. Plaintiff, on the other hand, cites to cases finding that

similar violative communications within the one-year limitation periods are not timed-barred.

See Pittman v. J.J. Mac Intyre Co. of Nevada, Inc., 969 F. Supp. 609 (D. Nev. 1997); Purnell

v. Arrow Fin. Servs., LLC., No. 05-CV-73384-DT, 2007 WL 421828 (E.D. Mich. Feb. 2,

2007).

         In Wilhelm, the plaintiff argued that the defendant continued to issue a credit report

regarding a disputed debt after being notified that the debt was disputed. Wilhelm, 455 F.

Supp. 2d at 1008-09. The defendant argued that it could not be liable for a violation of the

FDCPA because the plaintiff did not file suit over the disputed dept in the credit report until

more than one year after he first notified the defendant of the disputed debt. Id. at 1009. The

plaintiff argued that the defendant’s actions constituted “serial violations” of the FDCPA,

and the statute of limitations of the FDCPA “should be measured from the last violation,” or,

the date of the last report containing the disputed debt. Id. The court in Wilhelm, discussing

and citing reported and unreported Eighth Circuit cases, rejected the plaintiff’s “serial

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Case 3:09-cv-00152-TAV-HBG          Document 8 Filed 03/24/10          Page 7 of 13     PageID
                                          #: 87
violations” theory. Id. The court found that the statute of limitations accrued shortly after

the plaintiff gave notice to the defendant that the debt was disputed, and thus, the plaintiff

had a year after first giving notice within which to file suit based on that violation. Id.

       Similarly, in Fraenkel, the defendant sent two collections letters to the plaintiff more

than one year prior to the date the plaintiff filed his complaint asserting a FDCPA claim.

Fraenkel, 2004 WL 1765309, at *1. Less than one year prior to the plaintiff’s filing, the

defendant filed a collection action in state court. Id. The Fraenkel court held that the

plaintiff’s FDCPA claim, which was based on service of the state court complaint by the

defendant, was time-barred because the complaint repeated the same information alleged in

the earlier collection letters, sent more than a year prior to when the plaintiff filed his

complaint. Id. at *4. Accordingly, the Fraenkel court held that the plaintiff’s claim accrued

when the collection letters were sent because “[n]ew communications . . . concerning an old

claim . . . [do] not start a new period of limitations.” Id. (quoting Campos v. Brooksbank,

120 F. Supp. 2d 1271, 1274 (D. N.M. 2000)).

       Other courts have come down differently. In Pittman, the plaintiff sued the defendant

for FDCPA violations arising from communications, all of which, save for three, occurred

outside the one-year statute of limitations. Pittman, 969 F. Supp. at 611. The court denied

the defendant’s motion to dismiss and allowed the case to continue based solely on the three

communications which occurred within the one-year statute of limitations. Id. Similarly, in

Kaplan v. Assetcare, Inc., 88 F. Supp. 2d 1355 (S.D. Fl. 2000), the plaintiff received five

collection letters pertaining to the same outstanding debt. Kaplan, 88 F. Supp. 2d at 1360.

                                              8


Case 3:09-cv-00152-TAV-HBG         Document 8 Filed 03/24/10           Page 8 of 13     PageID
                                         #: 88
The first of these letters had been sent more than one-year prior to the date the plaintiff filed

his complaint. Id. Citing Pittman, the Kaplan court held that the plaintiff’s FDCPA claims

that arose out of the four communications within the one-year period were not time-barred

and could go forward. Id.; see also Murphy v. MRC Receivables Corp., No. 06-0299-CV-W-

NKL, 2007 WL 148823, at *3 (W.D. Mo. Jan 12, 2007) (holding that the plaintiff’s claims

were not barred by the statute of limitations because immunizing “debt collectors from

liability for any collection letters sent so long as the first letter was sent over one year from

the date a plaintiff filed suit[.]” would “contravene the purposes of the FDCPA”).

       In Purnell, the defendant, who had acquired the plaintiff’s debt as a third party, failed

to mark the debt as disputed after being notified by the plaintiff. Purnell, 2007 WL 421828,

at *1-2. Thus, the debt continued to be reported as disputed in subsequent credit reports. Id.

In considering the statute of limitations question, the Purnell court considered the holding

of Wilhelm but noted that the language of the statute of limitations in the FDCPA “places

significance on when a violation is made, not when it is made known,” and that each monthly

report in which the defendant failed to correct the disputed debt presented a “separate harm

to [the plaintiff] . . . and, for that matter, an independent opportunity for [the defendant] to

comply with the statute.” Id., at *3-4. Further, the Purnell court noted that

       The harm that inheres in the simple fact that information about an apparently
       undisputed debt in that person’s name exists in the credit reporting industry,
       which can have untold negative consequences for people to engage in
       commerce . . . . Specifically, the court will not follow the holding of Wilhelm,
       which held that the claims accrued shortly after the consumer’s first letter
       disputed the debt.

Id.

                                               9

Case 3:09-cv-00152-TAV-HBG          Document 8 Filed 03/24/10           Page 9 of 13      PageID
                                          #: 89
        In the instant case, plaintiff knew about the alleged violation in January 2008.3

 However, four of the communications plaintiff argues give rise to the alleged violations

 occurred within the one-year limitations period. Applying the rationale of Purnell, “the date

 of the dispute is irrelevant,” in this case, January 2008 or February 19, 2008, when plaintiff

 first noticed the disputed date of delinquency, and “the relevant consideration is the date of

 the alleged violation by the debt collector,” in this case, the May 15, 2008, September 11,

 2008, November 13, 2008, and December 28, 2008 credit reports. Further, the Court finds

 persuasive the statements in Purnell that incorrect information in a credit report, to the extent

 it is reported again and again, may constitute a “separate harm” to a plaintiff for purposes of

 the FDCPA.

        The Court also notes that other cases, cited by defendant FAST for the proposition

 that plaintiff’s allegations of “continuing” or “serial” violations are time-barred if the

 allegations arise from a dispute that occurred prior to the limitation period, are

 distinguishable. For instance, in Sierra v. Foster & Garbus, 48 F. Supp. 2d 393 (S.D.N.Y.

 1999), the defendant sent several demand letters to the plaintiff in the spring of 1997. Sierra,

 48 F. Supp. 2d at 394. In June 1997, the parties reached a settlement agreement regarding

 the demand letters—a settlement the plaintiff breached by the end of the year. Id. at 394-95.



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           Plaintiff asserts that he was not “aware” of each individual violation until he obtained each
 individual credit report. While this is technically true, plaintiff was aware of the situation giving
 rise to the alleged violation in January 2008 when he first obtained his credit report and, at the very
 least, on February 19, 2008, when Equifax informed plaintiff that defendant FAST had verified as
 correct the delinquency date of September 2002, the date plaintiff disputed.

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Case 3:09-cv-00152-TAV-HBG            Document 8 Filed 03/24/10              Page 10 of 13       PageID
                                             #: 90
 On January 21, 1998, the defendant served the plaintiff with a summons and complaint,

 noticing a state court to enforce the settlement agreement. Id. at 395. In December 1998, the

 plaintiff sued the defendant alleging that the settlement agreement and demand letters of June

 1997violated the FDCPA. Id. The Sierra court found that the statute of limitations barred

 the plaintiff’s claim. Id.

        Thus, in Sierra, there was no alleged violation of the FDCPA within the one-year

 limitation period, rather, only new communications regarding an old violation—namely, that

 a summons and complaint after an allegedly violative settlement was reached. In this case,

 plaintiff has alleged individual credit reports violating the FDCPA and issued within the one-

 year limitations period. Further, the situation in the instant case is more analogous to what

 the Sierra court stated that the Sierra case was not, “[t]his is not a case where defendants

 have sent a series of threatening letters, each of which violate the FDCPA and only some of

 which are time-barred.” Sierra, 48 F. Supp. 2d at 394.

        The case of Calka v. Kucker, Kraus & Bruh, No. 98 Civ. 0990(RWS), 1998 WL

 437151 (S.D.N.Y. August 3, 1998) is similar to Sierra in that there were no new violations

 alleged. In Calka, the plaintiff alleged that one defendant, the creditor, took assignment of

 a claim and then incorporated that assignment into a state court lawsuit by another defendant,

 the creditor’s counsel, on July 16, 1996. Calka, 1998 WL 437151, at *1-2. In February

 1998, the plaintiff filed suit in federal court, arguing that the incorporation of that assigned

 claim violated the FDCPA. Id. at *1-4. The plaintiff argued that her complaint was not time

 barred because the defendant had filed an amended complaint in the state court action,

                                               11


Case 3:09-cv-00152-TAV-HBG          Document 8 Filed 03/24/10           Page 11 of 13     PageID
                                           #: 91
 containing the same claim for back rent that the plaintiff had objected too, and a motion for

 summary judgment on that same claim, all within one year of the time the plaintiff had filed

 her federal suit. Id. The court held that the statute of limitations barred the plaintiff’s

 FDCPA claim because the plaintiff was on notice of the facts which formed the basis of her

 FDCPA claims when the defendant first filed its state court action, at which time the

 plaintiff’s cause of action under the FDCPA accrued. Id. Thus, the Calka case involved the

 question of whether pleadings in a lawsuit filed in violation of the FDCPA renewed the

 limitations period—not whether there were actual violations of the FDCPA, as in this case.

        The Court finds that the circumstances of this case are most analogous to Pittman,

 Kaplan, Purnell, and the Sierra exception. Defendant FAST sent four letters within the one-

 year limitations period. The letters, while involving the violation discovered outside of the

 limitations period, were separate communications which are alleged to have violated the

 FDCPA. As the text of the statute of limitations in the FDCPA indicates, the focus is the

 date “on which the violation occurs[,]” 15 U.S.C. § 1692k(d), not on the date on which the

 violation is known. A finding that a plaintiff could not assert a violation of the FDCPA for

 any alleged communication sent so long as the violation was detected over one year from the

 date a plaintiff filed suit would serve to immunize debt collectors from liability.

 III.   Conclusion

        Accordingly, the Court finds that plaintiff’s claims based on communications violating

 the FDCPA and communicated after April 10, 2008 are not barred by the statute of

 limitations. 15 U.S.C. § 1692k(d). Thus, and for the reasons set forth herein, plaintiff’s

                                              12


Case 3:09-cv-00152-TAV-HBG         Document 8 Filed 03/24/10          Page 12 of 13    PageID
                                          #: 92
 claims under the FDCPA are not time-barred and Defendant’s Motion to Dismiss for Lack

 of Subject Matter Jurisdiction [Doc. 5] is hereby DENIED.

       IT IS SO ORDERED.



                                        s/ Thomas A. Varlan
                                        UNITED STATES DISTRICT JUDGE




                                           13


Case 3:09-cv-00152-TAV-HBG      Document 8 Filed 03/24/10      Page 13 of 13    PageID
                                       #: 93
